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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OS AMERICA              :

            v.                        : Cr.No. 21-cr-407(DLF)

DARYL JOHNSON                                      :

                   Defendant          :


                        ENTRY OF APPEARANCE

      Please enter my appearance as retained counsel for the defendant in the

above captioned case.


                                      __________/s/_________________
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